Case 2:22-cv-02684-JTF-atc Document 16 Filed 11/01/23 Page 1 of 1                 PageID 64


                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE




FEDEX SUPPLY CHAIN LOG
__________________________________________

v.
                                                                   2:22-CV-02684
                                                        Case No. _______________________
JAMES GOODMAN
__________________________________________

                      APPLICATION FOR WRIT OF EXECUTION
                                   FedEx Supply Chain Logistics & Elec
      The Judgment Creditor, ____________________________________________________,

hereby makes application to the Clerk of the United States District Court to issue an

execution in the above case to satisfy a judgment against the judgment debtor(s)

herein,
          James Goodman
          _______________________________________,    for
                                                           1,194,125.37 plus
                                                             $____________________,
                                   35,823.76                  10/28/23
accrued interest in the amount of $_________________, through __________________,
                                                                       (date)
                        6
computed at the rate of __________________%, plus costs formally taxed by the Clerk or
                               0
the Court in the amount of _____________________.*        The total amount of payments
                                                  $500,000
made by judgment debtor(s) on this judgment is _____________________________. The
                                              (if no payments have been made, enter “0”)
balance of the judgment that remains unsatisfied, as of ______________________,
                                                        10/28/23


including accrued interest and costs, if applicable, after payments from the judgment
                                   729,948.97
debtor(s) have been credited, is $_________________________________.

                                   s/ Daniel W. Van Horn
                                   ________________________________________________
                                   Judgment Creditor/Attorney for Judgment Creditor
                                   6075 Poplar Ave., Ste. 500
                                   ________________________________________________
                                   Address
                                   Memphis, TN 38119
                                   ________________________________________________
                                   901-680-7331
                                   ________________________________________________
                                   Telephone Number

*If no costs have been formally taxed by the Clerk or the Court, enter “0”.


                                                                                     FORM 1
